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STATE OF ILLINOIS),
COUNTY OF LAKE } ,

IN THE CIRCUIT COURT OF THE NINETEENTH JUDICIAL CIRCUIT
LAKE COUNTY, ILLINOIS

SARINA ERVIN y | I. E
Petitioner ) = i)
) -
vs. ) No. 00 D 2067 JUL 30 2002
)
RAYMOND ERVIN ) Big nte
Respondent ) Ginéur ef =x

ORDER GRANTING MOTION TO DISMISS

This matter coming on for hearing on the Respondent’s Motion to Dismiss for lack
of Subject Matter Jurisdiction and/or to Vacate the Order entered December 5, 2004 and
January 2004, counsel for the respective parties present in open court and having
presented their arguments, the court having reviewed the Motion, Response and Reply,
and being fully advised in the premises;

FINDS:
1. The Uniform Interstate Family Support Act (UIFSA) is the proper vehicle to
enforce a foreign judgment conceming a child support order.

2. That the Uniform Enforcement of Foreign Judgments Act (UEFJA) is not the
proper Act under which to register a judgment of a foreign country. In re ©
Marriage of Paraskevas Agathos, 94 ill_App.3d 168, 170 (1* Dist. 1990).

3. Section 618 does exclude “a judgment for support in matrimonial or family
matters.” However, section 618 is part of the Uniform Foreign Money-
Judgments Recognition Act (UFMJRA) and the UFMJRA also bars the
Petitioner from registering the Canadian order under the Act.

IT IS THEREFORE ORDERED:

-Respondent’s Motion to Dismiss for lack of Subject Matter Jurisdiction
and/or Vacate is granted.

 

Dated at Waukegan, Illinois,
this 30th day of July, 2004.

Nancy C. Murphy via e-mail at NCMurphy@att.net
Marjorie Sher via e-mail at marjoriesherlaw@sbcglobal.net Lf GC

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STATE OF ILINOIS )
SS
COUNTY OF LAKE )

SARINA ERVIN
Petitianer
Vs
RAYMOND ERVIN

Respondent

IN THE CIRCUIT COURT OL THE
NINETEENTH JUDICIAL CIRCUIT
LAKE COUNTY, ILLINOIS

Gen. No.

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ORDER

00D2067
IV-D No.

C01166815

This matter coming before the Court on FEBRUARY 8, 2001 for ENROLL JUDGMENT, the
Petitioner () present, (X) not present, represented by IRLINFE H. CURRAN, Assistant State’s
Allorney, the Respondent (X) present () not present, () appearing pro 3c (_) represented by counsel:

IT IS QEREBY ORDERED:

° STATE NOT IN POSSESSION OF CERTIFIED ORDER IN ORDER TO ASK
COURT TO ENROLL JUDGMENT.
° ‘THIS CASE IS DISMISSED WITHOUT PREJUDICE.

Dated at Waukegan, Illinois this:

Order prepared by:

ENTER:

TUDOR

ELBRUARY 8 2001.

LRENE It, CURRAN
Assistant State's Attomey
33 N. County Street, Suite 205

Waukegan, IL 60085 i
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